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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF WYOMING

RIA R SQUARED, INC.,                                 )
a Delaware corporation,                              )
                                                     )
       Plaintiff,                                    )
                                                     )
       v.                                            )       Case No. 21-CV-125
                                                     )
PAUL D. MCCOWN, AND                                  )
MCCOWN ENTERPRISES, LLC,                             )
a Wyoming Limited Liability Company                  )
                                                     )
       Defendants.                                   )

                     ORDER GRANTING PLAINTIFF’S FRCP 54(B)
                       MOTION FOR ENTRY OF JUDGMENT

       THIS MATTER, having come before the Court on Plaintiff’s FRCP 54(b) MOTION FOR

ENTRY OF JUDGMENT, and the Court having considered the pleadings and other matters on file,

hereby FINDS AND ORDERS AS FOLLOWS:

       1.      Good cause exists to enter a final judgment against Defendants, jointly and

severally, on Plaintiff’s claim of fraud in the inducement/intentional misrepresentation (Claim IV).

       2.      There is no just reason for delay of entering judgment, in the amount of $14.7

million, said judgment to accrue post-judgment interest at the rate as directed by 28 U.S.C. 1961.

       3.      The Court hereby grants Plaintiff’s motion, in its entirety, and directs entry of the

above-described judgment.


       DATED this ______ day of _________________, 2021.


                                               ___________________________________
                                                    United States District Judge
